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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                 No. 17-cr-20274

             Plaintiff,                    Honorable Bernard A. Friedman

 v.                                        MOTION TO COMPEL
                                           DISCOVERY OF FORENSIC
                                           INTERVIEWS
 JUMANA NAGARWALA, D-1
 FAKHRUDDIN ATTAR, D-2,
 FARIDA ATTAR, D-3,
 TAHERA SHAFIQ, D-4,
 FARIDA ARIF, D-5
 FATEMA DAHODWALA, D-6
 HASEENA HALFAL, D-7, and
 ZAINAB HARIYANAWALA, D-8

           Defendants.
 ________________________________________/

       The above-captioned Defendants, by and through their respective

 Counsel, respectfully request that this Court enter an order requiring the

 Government to provide Defendants with copies of all forensic interviews

 produced in connection with this case. Concurrence was sought regarding

 the request herein, however, the government does not agree to produce

 copies of the forensic interviews.




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                                    Respectfully submitted,

 Dated: 7/23/2018                   /s/ Shannon M. Smith
                                    SHANNON M. SMITH
                                    Attorney for Jumana Nagarwala

 Dated: 7/23/2018                   /s/ Mary Chartier
                                    MARY CHARTIER
                                    Attorney for Fakhruddin Attar

 Dated: 7/23/2018                   /s/ Matthew Newburg
                                    MATTHEW NEWBURG
                                    Attorney for Farida Attar

 Dated: 7/23/2018                   /s/ Jerome Sabbota
                                    JEROME SABBOTA
                                    Attorney for Tahera Shafiq

 Dated: 7/23/2018                   /s/ Anjali Prasad
                                    ANJALI PRASAD
                                    Attorney for Farida Arif

 Dated: 7/23/2018                   /s/ Brian M. Legghio
                                    BRIAN M. LEGGHIO
                                    Attorney for Fatema Dahodwala

 Dated: 7/23/2018                   /s/ Lisa L. Dwyer
                                    LISA L. DWYER
                                    Attorney for Haseena Halfal

 Dated: 7/23/2018                   /s/ Patricia A. Maceroni
                                    PATRICIA A. MACERONI
                                    Attorney for Zainab Hariyanawala




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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                 No. 17-cr-20274

             Plaintiff,                    Honorable Bernard A. Friedman

 v.                                        BRIEF IN SUPPORT OF
                                           MOTION TO COMPEL
 JUMANA NAGARWALA, D-1                     DISCOVERY OF FORENSIC
 FAKHRUDDIN ATTAR, D-2,                    INTERVIEWS
 FARIDA ATTAR, D-3,
 TAHERA SHAFIQ, D-4,
 FARIDA ARIF, D-5
 FATEMA DAHODWALA, D-6
 HASEENA HALFAL, D-7, and
 ZAINAB HARIYANAWALA, D-8

           Defendants.
 ________________________________________/

                      BACKGROUND INFORMATION

       All of the above-captioned Defendants are charged by indictment

 with Count One, Conspiracy to Commit Female Genital Mutilation, in

 violation of 18 U.S.C. § 371;

       D-1, D-2, D-3, D-4, and D-7 are charged with Count Two, Female

 Genital Mutilation, in violation of 18 U.S.C. §§ 116 and 2 regarding MV-

 1;




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         D-1, D-2, D-3, D-4, and D-8 are charged with Count Three, Female

 Genital Mutilation, in violation of 18 U.S.C. §§ 116 and 2 regarding MV-

 2;

         D-1, D-3, and D-5 are charged with Count Four, Female Genital

 Mutilation, in violation of 18 U.S.C. §§ 116 and 2 regarding MV-3;

         D-1 and D-6 are charged with Count Five, Female Genital

 Mutilation, in violation of 18 U.S.C. §§ 116 and 2 regarding MV-4;

         D-1, D-2, D-3 and D-6 are charged with Count Seven, Conspiracy to

 Obstruct an Official Proceeding, in violation of 18 U.S.C. § 1512(k).

 (Second Superseding Indictment1, Doc. 153.).

         During the course of the investigation, the government conducted

 forensic interviews on at least thirteen children. Videos made from the

 anogenital examinations and medical reports regarding each child were

 provided under a Protective Order. The children include the following:

 MV-1, MV-2, MV-3 (also known as MI-1); MV-4 (also known as MI-2);

 MV-5 (also known as MI-8); MV-6 (also known as MI-9); MI-3; MI-4; MI-

 5; MI-6; MI-7; MI-11; MI-12; MI-13.             While some of the minors are

 explicitly referenced in the Second Superseding Indictment, upon



 1   Count Six was previously dismissed by this Court.

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 information and belief, some of the parents of the other children

 evaluated have received immunity or are cooperating with the

 government.     However, discovery including the medical findings and

 videotaped physical examinations related to their children was still

 tendered to the defense.

       The children interviewed ranged in age from seven years old to

 twenty, although the religious procedure for the girls would have taken

 place when they were close to seven years old. The interviews were

 conducted by professionals trained in forensic interviewing techniques

 and forensic interviewing protocols. Several of the interviewers who

 conducted the forensic interview have been qualified as expert witnesses

 and routinely testify to their expert opinions in both state and federal

 court. Each child was questioned about the circumstances underlying

 the charged offenses and the interviews were videotaped.

       The defense requested copies of the videotaped interviews

 previously, however, the government maintains these interviews are

 Jencks material. The government does agree, however, that the United

 States Attorney’s Office will make the videos available for review at its

 office. For several reasons explained below, these accommodations would



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 be insufficient for the defense and cause undue delay during trial if the

 videos are not provided to the defense well in advance of trial.

       Further, the Court should be aware that contemporaneously with

 this instant case, Child Protective Services (CPS), through the Michigan

 Department of Health and Human Services (DHHS), filed petitions

 against numerous families in the community including but not limited to

 currently indicted parents from the Nagarwala family, the Attar family,

 the Dahodwalas and the Arifs. 2 In the child protective proceedings,

 DHHS petitioned to terminate the parental rights of the parents to the

 children in this case, and other families who are not currently indicted,

 for the alleged female genital mutilation procedures.

       During the course of the Michigan state proceedings, the Attorney

 General did provide copies of the videotaped forensic interviews as

 discovery. Based on information from the Attorney General, the copies

 of the forensic interviews that were provided to counsel in the CPS cases

 came directly from the federal government, who then provided them to

 the Attorney General’s office. At the time the government provided


 2 State court proceedings were also filed in Minnesota against the Halfal and
 Hariyanawala families, however, it is unknown if the forensic interviews were
 provided as discovery to counsel in those matters.



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 copies to the Attorney General’s office, the Government was aware the

 DVDs were going to be provided to defense counsel pursuant to court

 order. As such, Dr. Nagarwala, for example, was provided copies of the

 forensic interviews regarding the following children through her

 attorney, who are also involved in this case: MV-4/MI-2; MV-3/MI-1; MV-

 5/MI-8; MV-6/MI-9; MI-3; MI-4; MI-5; MI-6; MI-7. The Attars, for

 example, were provided discovery through their respective attorneys of

 the forensic interviews of MV-3/MI-1; MV-6/MI-9; MI-3; MI-4; MI-5; MI-

 6; MI-7. The lawyers for the Dahodwalas and Arifs were provided the

 interviews for the children of their respective clients.       The forensic

 interviews were released as discovery under Protective Orders with

 several provisions that required Counsel to maintain the videos

 confidentially; to maintain the videos in the attorneys’ possession at all

 times or to keep them secure in their offices; to not copy, download or

 duplicate the videos in any way; and finally, to return the videos at the

 conclusion of the state proceedings. At this time, pursuant to the

 Protective Orders entered in each case, all of the videos provided in state

 court as discovery have been returned to the Attorney General.




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       In the course of preparing for the trials in state court, several of the

 indicted defendants, through their attorneys, consulted with expert

 witnesses in forensic psychology who have specific expertise in forensic

 interviewing techniques and memory and suggestibility. These experts,

 and others, will be called to testify in the federal trial. Additionally, the

 experts the defense will consult with will assist in cross-examination of

 the government’s forensic interviewer witnesses. As such, copies of all of

 the forensic interviews are needed in this case based on the following

 arguments.

                                ARGUMENT

       I.    The accommodations proposed by the government are
             insufficient for this instant case.

       The government did propose that the defense can have access to the

 videos of the forensic interviews in their office. Unlike most cases,

 however, the sheer volume of material makes this unhelpful. The instant

 case involves at least thirteen children who were interviewed, and at

 least one of them was interviewed more than once. Based on the videos

 seen by Undersigned Counsel in the CPS matter for Dr. Nagarwala and

 the Attars, while most of the videos are approximately an hour long, there

 is at least one that is nearly two and a half hours.


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       The defense in this matter intend to collectively consult with at

 least two experts who are based out-of-state and one expert from outside

 of the country. One such expert is only available August 27 and August

 28 to review the videos and consult with Undersigned Counsel. It would

 be impossible and cost-prohibitive for those experts to travel to Michigan,

 spend days on end at the prosecutor’s office analyzing the videos, and be

 able to adequately prepare and consult with the multiple attorneys

 involved in this case, particularly considering the number of hours of

 child interview statements to review.

       Obtaining copies of the videos will allow Defense Counsel to review

 the videos with each client, to view the videos multiple times in

 preparation for trial (as there are significant impeachment from some of

 the interviews based on the CPS proceedings), and to show the videos to

 experts. An offer of proof regarding the need for expert testimony is

 contained in Section II. It would be much more cost effective to not

 require out-of-state and foreign experts to travel to Detroit every time

 they needed to review the videos.

       Further, although it has not been suggested yet, obtaining

 transcripts of the videos in this particular case would be insufficient as



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  well. The interviews are critical to the defense in terms of showing the

  emotion, affect of the children/teenagers, and demeanor that can only be

  seen by watching the videos. For example, one of the children in her

  interview answers questions rhetorically. Many ask questions in a way

  that shows their clear confusion over the issue at hand, particularly

  because the interviewers are using terms and words the children did not

  know. It is imperative the experts can visualize the demeanor and voice

  inflection of the children and teenagers during the interviews. These

  things, for example, cannot be derived from a written transcript.

        II.   Expert testimony will be necessary at trial regarding the
              forensic interviews. If the video is not released until after
              each child testifies, the trial will be delayed due to
              adjournments necessary for the defense to consult with
              forensic experts, particularly due to the volume of material.

        Based on the knowledge from the release of videoed forensic

  interviews in the state CPS court proceedings, the Defendants in this

  instant case intend to present expert testimony at trial. The amount of

  time for experts to prepare and consult with the defense would cause

  adjournments     and   delays   that    would   defeat   judicial   economy,

  particularly due to the volume of materials, the number of videos, and

  the length of the interviews. Some of the interviews contain numerous



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  topics that experts will need to explain at trial. Further, pursuant to

  Rule 16(b)(1)(C), the defense prefers to tender summaries of the various

  expert opinions to the prosecution in advance of trial.

           In this instant case, the defense intends to introduce expert

  testimony based on scientific research, which has been conducted in the

  fields    of child   development, psychology, and sociology on the

  suggestibility of children and teenagers and factors influencing the

  accuracy of witness reports. The testimony will require an in-depth

  analysis of each interview.      The testimony is likely to include the

  importance of adherence to the forensic interview protocols that were

  supposedly used in the investigation of this case. The experts will rely

  on peer reviewed articles and books in this field, which are recognized in

  the scientific community.     Further, the experts would testify about

  known developmental and psychological principles that explain how

  certain factors can and do influence children and adolescents to make

  unreliable and/or inaccurate statements concerning their memory of

  events to interviewers and in Court.




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           As an offer of proof, the defense offers the following topics that

  experts may opine on during the federal trial in this instant case, once

  the experts have had the opportunity to review the videos:

           A.   The importance of following recognized forensic interview
                protocols; why they were created; and why they are essential
                to obtain the most reliable information from children and
                teenagers during interviews;

           B.   How forensic interviewing protocols were not followed at
                times during interviews conducted in this instant case;

           C.   Information about suggestibility and memory that are not
                common knowledge to lay people, including several factors
                found in research to have a high correlation to inaccurate
                statements by adolescents about events that have been
                influenced by improper interviewing techniques;3

      D.        Why alternative hypothesis testing is a critical component
                of the forensic interview protocols and process and how some
                of the interviewers failed to explore alternative hypotheses
                in these interviews; For example, an alternative hypothesis
                that was not tested was whether the girls were not
                “mutilated” in this case, but rather underwent a harmless
                religious procedure.

      E.        Known developmental and psychological principles that
                explain how child interviewers and certain social factors can

  3
    See, e.g., Barbara Kaban and Ann E. Tobey, “When Police Question Children: Are
  Protections Adequate?” 1 J.Center for Child and Cts. 151 (1998); Daniel Hyman,
  “Interviewing Children in Child Custody Evaluations,” 36 Fam. and Conciliation
  Courts Rev. 466 (Oct. 1998); John E.B. Myers, Karen J. Saywitz and Gail S. Goodman,
  “Psychological Research on Children as Witnesses: Practical Implications for
  Forensic Interviews and Courtroom Testimony,” 28 Pac. L.J. 3, 7 (Fall 1996); Dana
  D. Anderson, “Assessing the Reliability of Child Witness Testimony in Sexual Abuse
  Cases,” 69 S. Cal.L.R. 2117 (September 1996).

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               and do influence children and adolescents to make
               inaccurate statements concerning events to various
               interviewers and in court;

     F.        How scientists have long recognized that memory is a
               constructive process and that recall is not simply retrieval,
               but a reconstruction, in which aspects of the content of
               previously presented material are woven into a coherent
               whole, with the aid of preexisting knowledge; It is critical in
               the evaluation of memory testimony to understand that the
               way questions are asked and the interviewer’s reactions can
               shape the descriptions adolescents give of past events. This
               contributes to why the experts will need to see how questions
               are presented and the physical/emotional reaction to the
               same.

     G.        The concept of source monitoring to explain how what one
               reports as the “truth” may be the result of familiarity with
               ideas gleaned from a variety of external sources other than
               direct personal experience, such as being questioned or
               overhearing conversations; In this instant case, for example,
               at least one girl repeatedly stated that she had never had a
               procedure, however, when interviewers essentially told her
               they “knew it had happened,” she acquiesced to their belief.

          H.   That there is ease with which an interviewer’s expectations,
               misperceptions and manner of questioning can distort and
               alter a child’s statements about an event;

          I.   That once memories have been altered or implanted, even
               through improper questioning during a forensic interview,
               there is no way for experts or any others to distinguish
               between true and false reports of events or details reported
               by children/adolescents.

          J.   The impact of various interview circumstances and
               techniques such as repeated interviewing and repeated
               questions can dramatically influence the statements by a


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                child in an interview; This is certainly critical to one child
                who stated more than one hundred times during her
                interview that she did “not know” or did “not remember” a
                procedure. After literally badgering the child, however, she
                conceded that something may have happened, and became
                hysterically upset that there may be something wrong with
                her body.

           K.   That many interview practices are sufficiently suggestive or
                coercive to alter irremediably the perceptions of a child or
                adolescent witness; This is critical to one child in this case
                who initially had absolutely no recollection of any
                procedure done to her genitalia. After conversations with
                outside sources, the child suddenly came to remember
                having a procedure and was re-interviewed by a forensic
                interviewer. Naturally, based on the biased questions she
                was asked, the procedure was described with inaccurate
                information.

           L.   Finally, research that demonstrates that children can be
                convinced of a different physical touch than that which they
                actually experienced.

           As the Court may imagine, to prepare experts to testify about each

  of these subjects and to analyze the many videos in this case, particularly

  to study each question and answer, would cause enormous delay mid-

  trial.

                                 CONCLUSION

           Throughout this case, the Court has routinely granted discovery

  with Protective Orders in place. For example, the Court has released

  copies of the anogenital examinations under a Protective Order showing


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  the colposcope examinations on the children involved and their medical

  findings. All Defense Counsel have abided by the terms of the Protective

  Order and would continue to do the same if a Protective Order were

  entered governing the videos of the forensic interviews.

                                     Respectfully submitted,

  Dated: 7/23/2018                   /s/ Shannon M. Smith
                                     SHANNON M. SMITH
                                     Attorney for Jumana Nagarwala

  Dated: 7/23/2018                   /s/ Mary Chartier
                                     MARY CHARTIER
                                     Attorney for Fakhruddin Attar

  Dated: 7/23/2018                   /s/ Matthew Newburg
                                     MATTHEW NEWBURG
                                     Attorney for Farida Attar

  Dated: 7/23/2018                   /s/ Jerome Sabbota
                                     JEROME SABBOTA
                                     Attorney for Tahera Shafiq

  Dated: 7/23/2018                   /s/ Anjali Prasad
                                     ANJALI PRASAD
                                     Attorney for Farida Arif

  Dated: 7/23/2018                   /s/ Brian M. Legghio
                                     BRIAN M. LEGGHIO
                                     Attorney for Fatema Dahodwala

  Dated: 7/23/2018                   /s/ Lisa L. Dwyer
                                     LISA L. DWYER
                                     Attorney for Haseena Halfal



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  Dated: 7/23/2018                   /s/ Patricia A. Maceroni
                                     PATRICIA A. MACERONI
                                     Attorney for Zainab Hariyanawala



                        CERTIFICATE OF SERVICE

        I hereby certify that on July 23, 2018, I electronically filed the

  foregoing document with the Clerk of the Court using the ECF

  system which will send notification to parties enrolled through the ECF

  system. A hard copy has been mailed via the United States Postal Service

  to those who are not enrolled.

                                     /s/ Shannon M. Smith
                                     SHANNON M. SMITH
                                     Attorney for Jumana Nagarwala
                                     Smith Blythe, PC
                                     1668 South Telegraph Road
                                     Suite 140
                                     Bloomfield Hills, Michigan 48302
                                     (248) 636-2595
                                     attorneyshannon@gmail.com




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